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                                 UNITED STATES DISTRICT COURT
20
                              NORTHERN DISTRICT OF CALIFORNIA
21
     DANTE DEMARTINI, et al.,                       Case No. 3:22-cv-08991-JSC
22
                            Plaintiffs,             DEFENDANT MICROSOFT
23                                                  CORPORATION’S STATEMENT IN
                                                    RESPONSE TO PLAINTIFFS’
24   v.
                                                    ADMINISTRATIVE MOTION TO
                                                    CONSIDER WHETHER ANOTHER
25   MICROSOFT CORPORATION,                         PARTY’S MATERIAL SHOULD BE
26                                                  SEALED [Dkt. 167, 173]
                            Defendant.
27                                                  Hon. Jacqueline Scott Corley

28

                                                    MICROSOFT’S STATEMENT IN SUPPORT OF SEALING
                                                                         Case No. 3:22-cv-08991-JSC
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 1          On May 8 and 9, 2023, Plaintiffs filed their Reply and Corrected Reply to their Motion for
 2   Preliminary Injunction. (Dkt. 168, 174.) Pursuant to Local Rule 79-5(f), they filed an Administrative
 3   Motion to Consider Whether Another Party’s Materials Should be Sealed (Dkt. 167, 173), with respect
 4   to portions of their motion and supporting materials that quote or reference material that has been
 5   designed as Highly Confidential by Microsoft Corporation. Pursuant to Local Rules 79-5(c) and (f),
 6   Microsoft submits this Statement and accompanying Declaration of Cynthia Randall in support of
 7   sealing those portions of the Motion for Preliminary Injunction. Microsoft requests that the Court
 8   maintain under seal the following portions of Plaintiffs’ Reply and Corrected Reply to their Motion
 9   for Preliminary Injunction: 11:16, 11:23, 12:25.
10          The Ninth Circuit applies a “good cause” or “compelling reasons” standard for sealing
11   documents, depending on whether the motion is “more than tangentially related to the underlying
12   cause of action.” Ctr. For Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1096-97 (9th Cir. 2016).
13   “Compelling reasons” may exist if, for example, the records “might be used . . . as sources of business
14   information that might harm a litigant’s competitive standing.” Id. at 1097 (citation omitted). Here,
15   there are sufficient reasons for sealing these materials under either standard.
16          The material contains internal, confidential business strategies and analysis. (Randall Decl., ¶
17   3.) It references figure arising out of a confidential business analysis found in an internal strategy
18   presentation to Microsoft’s board of directors and a confidential contract. (Id.) The business analysis
19   relates to the expected value of the merger and related strategy. (Id.) Microsoft has an interest in
20   maintaining the confidentiality of this business analysis and strategy. It could cause competitive harm
21   to Microsoft if this material were publicly disclosed. (Id.) For example, competitors could capitalize
22   on this insight to exploit Microsoft’s internal strategies. (Id.) Microsoft takes reasonable steps to
23   maintain the confidentiality of this information and does not disseminate it beyond limited internal
24   employees. (Id.) It produced the underlying documents to the FTC and in this action as Highly
25   Confidential. (Id.)
26          This is the type of material that courts routinely seal. See, e.g., FTC v. Qualcomm Inc., No.
27   17-CV-00220-LHK, 2019 U.S. Dist. LEXIS 1289, at *15 (N.D. Cal. Jan. 3, 2019) (finding compelling
28   reasons to seal materials that could harm the party’s or third parties’ “competitive standing” or that
                                                        2
                                                             MICROSOFT’S STATEMENT IN SUPPORT OF SEALING
                                                                                  Case No. 3:22-cv-08991-JSC
          Case 3:22-cv-08991-JSC Document 180 Filed 05/12/23 Page 3 of 3




 1   “divulges terms of confidential contracts”); Santelices v. Apttus Corp., No. 19-cv-07414-HSG, 2020
 2   U.S. Dist. LEXIS 183322, at *11-12 (N.D. Cal. Oct. 2, 2020) (finding compelling reason to seal
 3   documents “that contain confidential business and financial information relating to the Apttus merger
 4   and the company’s internal valuation analysis related to this merger”); Roley v. Google LLC, No. 18-
 5   cv-07537-BLF, 2020 U.S. Dist. LEXIS 265470, at *7-10 (N.D. Cal. Apr. 28, 2020) (finding
 6   compelling reasons to seal several types of information related to Google’s business strategy, product
 7   strategy, and evaluations).
 8          No less restrictive alternative to sealing is sufficient. Microsoft has sought to seal only narrow
 9   portions of the Reply to Plaintiffs’ Motion for Preliminary Injunction, which was filed by Plaintiffs.
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11   Dated: May 12, 2023                                     Respectfully submitted,
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